

Matter of County of Nassau v Superior Officers Assn. of the Police Dept. of the County of Nassau, Inc. (2021 NY Slip Op 01768)





Matter of County of Nassau v Superior Officers Assn. of the Police Dept. of the County of Nassau, Inc.


2021 NY Slip Op 01768


Decided on March 24, 2021


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 24, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

CHERYL E. CHAMBERS, J.P.
SYLVIA O. HINDS-RADIX
COLLEEN D. DUFFY
LINDA CHRISTOPHER, JJ.


2019-05773
 (Index No. 604621/18)

[*1]In the Matter of County of Nassau, appellant,
vSuperior Officers Association of the Police Department of the County of Nassau, Inc., respondent.


Bee Ready Fishbein Hatter &amp; Donovan, LLP, Mineola, NY (Peter A. Bee, William C. De Witt, and Jason Greenfield of counsel), for appellant.
Greenberg Burzichelli Greenberg P.C., Lake Success, NY (Seth H. Greenberg of counsel), for respondent.



DECISION &amp; ORDER
In a proceeding pursuant to CPLR article 75 to permanently stay arbitration of the respondent's grievance arising from a memorandum of agreement dated September 15, 2017, the petitioner appeals from an order and judgment (one paper) of the Supreme Court, Nassau County (Thomas A. Adams, J.), entered March 12, 2019. The order and judgment, upon an order of the same court dated December 7, 2018, and upon an amended order of the same court dated March 6, 2019, denied the petition to permanently stay arbitration and granted the respondent's motion to dismiss the petition and to compel arbitration.
ORDERED that the order and judgment is affirmed, with costs.
In March 2018, the petitioner, County of Nassau, commenced this proceeding pursuant to CPLR article 75 against the respondent, Superior Officers Association of the Police Department of the County of Nassau, Inc., to permanently stay arbitration. The petitioner alleged that it and the respondent are parties to a collective bargaining agreement, as well as a subsequent memorandum of agreement dated September 15, 2017 (hereinafter the agreement). The respondent submitted a grievance on behalf of its members alleging, inter alia, that its members were not receiving longevity payments in accordance with the agreement. The petitioner sought to permanently stay arbitration, contending that the agreement is invalid and unenforceable and that the issue is not arbitrable under the parties' collective bargaining agreement. The petitioner commenced a related action for a judgment declaring the agreement to be invalid, which is the subject of a related appeal (County of Nassau v Superior Officers Association of the Police Department of the County of Nassau, Inc., ___ AD3d ___ [decided herewith]).
In an order and judgment entered March 12, 2019, the Supreme Court denied the petition to permanently stay arbitration and granted the respondent's motion to dismiss the petition and to compel arbitration. The petitioner appeals.
For the reasons stated in Matter of County of Nassau v Detectives Assn., Inc. of the Police Dept. of Nassau County (188 AD3d 1049), we affirm the order and judgment.
CHAMBERS, J.P., HINDS-RADIX, DUFFY and CHRISTOPHER, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








